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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:22-CR-00011-DAD

12                                 Plaintiff,              ORDER SEALING DOCUMENTS AS SET FORTH
                                                           IN GOVERNMENT’S NOTICE
13                           v.

14   NATHAN ROSENBLATT,

15                                 Defendant.

16

17          Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the Government’s three-page filing and Request to

19 Seal shall be SEALED until further order of this Court. It is further ordered that access to the sealed

20 documents shall be limited to the Government and counsel for the parties.

21          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
22 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

23 the Government’s request, sealing the Government’s motion serves a compelling interest. The Court

24 further finds that, in the absence of closure, the compelling interests identified by the Government would

25 be harmed. In light of the public filing of its request to seal, the Court further finds that there are no

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       [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
30     FORTH IN GOVERNMENT’S NOTICE
               Case 2:22-cr-00011-DAD Document 56 Filed 03/23/23 Page 2 of 2

 1 additional alternatives to sealing the Government’s motion pursuant to U.S.S.G § 5K1.1 that would

 2 adequately protect the compelling interests identified by the Government.

 3            IT IS SO ORDERED.
 4
     Dated:     March 22, 2023
 5                                                  UNITED STATES DISTRICT JUDGE

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET       2
30    FORTH IN GOVERNMENT’S NOTICE
